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  UN ITED STA TES O F A M ER ICA                                                                                              .
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  VS.

  LEN NY S R AN G EL,

                D efendant.


                                          IN FO R M A TIO N

         The United StatesofA m erica chargesthat:

                                 G EN ER AL A LLEG A TIO N S

         Atalltim esrelevantto thislnform ation:

                PetréleosdeVenezuelaS.A.(CTDVSA'')wasthestate-ownedandstate-controlled
  oilcom pany in Venezuela. PDV SA was respcm sible for the exploration,production,refining,

  transportation, and trade in energy resources in V enezuela and provided funding for other

   operationsofthe V enezuelan governm ent.

                PDVSA enteredintovariousjointventureswith foreignoilcompaniesto leverage
  the expertise ofthose oilcompanies (the ûtPDVSA Subsidiaries''or,individually,a tIPDVSA
   Subsidiary''). PDVSA maintained a majority stake in,and largely controlled,the PDVSA
   Subsidiariesand thatcontrolextended to the procurem entprocess.

                 Petrocedeho S.A.(ûûpetrocedeiso'')wasa PDVSA Subsidiary thatconsisted ofa
   combination ofPDVSA and two European oilcompanies,with majority controlbelonging to
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  PD V SA . Petrocedeho had a significant operating budget and aw arded severalhundred m illion

  dollarsin procurem entcontractseach year.

                 PD V SA    and the PDV SA         Subsidiaries, including Petrocedeho, w ere

  tûinstrum entalities''of the V enezuelan governm ent as that term is used in the Foreign Corrupt

  PracticesAct(;$FCPA''),Title15,UnitedStatesCode,Section 78dd-2(h)(2)(A).
                 Defendant LENN Y S R A N GE L w as a V enezuelan citizen residing in V enezuela

  through atleastDecem ber2017. R AN G E L held various positions atthe PD VSA Subsidiaries,

  including as head of procurem ent for Petrocedeho. R AN G EL w as a Sûforeign official''as that

  term isused intheFCPA,Title15,UnitedStatesCode,Section78dd-2(h)(2).
          6.      Contractor 1,an individualwhose identity is know n to the United States,owned

  or controlled severalcom panies,including Florida-registered com panies,thatsupplied goods or

  services to PD V SA and PDV SA Subsidiaries. Contractor 1 w as an ofticer,director,em ployee,

  and agentofa ûédom estic concern,''and a stockholderacting cm behalfofa ûûdom estic concenan''as

  thosetermsareusedintheFCPA,Title15,United StatesCode,Section 78dd-2(h)(1).
                     CO N SPIR AC Y T O CO M M IT M O N EY L AU N DER ING

          Beginning in oraround M arch 2015,and continuing through atleast2017,in the Southel'n

  D istrictofFlorida,and elsewhere,the defendant,

                                            LENN Y S R AN G EL ,

   did knowingly and willfully,thatis,with the intentto furtherthe objects ofthe conspiracy,
   com bine,conspire,confederate,and agree w ith othersknow n and unknow n to the U nited States,

   including Contractor1,to com mitoffensesagainsttheUnited States,nam ely:

                 to klzow ingly conduct a financial transaction, w hich involved the proceeds of

   specified unlaw fulactivity,know ing the property involved in the financialtransaction represented
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  the proceedsofsom e form ofunlawfulactivity,and know ing thatthe transaction w as designed in

  w hole and in pal4 to concealand disguise the nature,the location,the source,the om aership,and

  the controlOf the proceeds of said specified unlaw ful activity,in violation of Title 18,U nited

  StatesCode,Section 1956(a)(1)(B)(i),
                                     'and
         b.     to knowingly transport, transm it,and transfer a m onetary instrum ent and funds

  from aplacein the United Statesto and through aplaceoutsidetheUnited Statesand to aplacein

  the U nited Statesfrom and through a place outsidethe United Statesw ith the intentto prom ote the

  carrying On of specified unlaw fulactivity,in violation Of Title 18,United States Code, Section

  1956(a)(2)(A).
         Itisfurtheralleged thatthe specitiedunlawfulactivity isthefollowing:(a)bribery ofa
  foreign ofticial,a felony violation oftheFCPA,Title 15,United StatesCode,Section 78dd-2,and

  (b)offensesagainstaforeignnation,speciticallyVenezuela,involvingbriberyofapublicofticial,
  asprovidedby Title18,UnitedStatesCode,Section 1956(c)(7)(B)(iv).
                               PU R PO SE O F TH E C O N SPIR ACY

                 The purpose of the conspiracy w as for LEN N Y S R AN G EL and other co-

  conspirators(includingContractor1)toengageinfinancialtransactionsthatconcealed,disguised,
  and prom oted bribe paym ents m ade for the benefit of R AN G EL, all in an effortby the co-

  conspiratorcontractors(including Contractor 1)to gain an illegaland improperadvantage in
  obtaining and retaining procurem entcontractsw ith PD V SA and the PD V SA Subsidiaries.
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                       M A NN ER A ND M EA N S O F TH E C O N SPIM C Y

         The m anner and m eansby which LEN NY S IG NG E L and herco-conspirators soughtto

  accomplishtheobjectsandpurposeoftheconspiracyincluded,amongotherthings,thefollowing,
  while in the Southern D istrictofFlorida and elsewhere.

                LEN N Y S R AN G EL received instructions from senior PDV SA officials to assist

  and expedite the aw ard ofPetrocedeho contracts,which ultim ately yielded benetitsforthose senior

  PD V SA officialsand otherV enezuelan officialsand generals.

                 LEN N Y S R AN G EL agreed to receive overfive m illion dollars in bribes f'
                                                                                            rom co-

  conspirator contractors (including Contractor 1) in exchange for RANGEL'S assistance in
  obtaining an im proper advantage in connection w ith the aw ard of Petrocedeho procurem ent

  contracts.

                 LENNYS RANGEL andtheco-conspiratorcontractors(including Contractor1)
  agreed to conceal,and did in factconceal,the nature,source,and ow nership ofthe bribes paid to

  R AN G EL by directing that they be m ade to bank accounts held in the nam e of R AN G EL 'S

  relativesand friends.

                 LENN Y S R AN G EL used proceedsofthe bribessentby co-conspiratorcontractors

   (including Contractor1)forherownpersonalbenet-
                                                it,includingthepurchaseofrealestatein South
   Florida.

                                          O V ERT AC TS

          In furtherance ofthe conspiracy,and to accomplish the purpose and objectsthereof,
   LEN N Y S R AN G EL and her co-conspirators com m itted and caused to be com m itted,in the

   Southelm DistrictofFlorida and elsewhere,atleastone ofthe follow ing overtacts,am ong others:
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                ln or around 2015, during a m eeting in Venezuela at the hom e of a V enezuela

  contracttm LEN N Y S R AN G EL received instructions from senior PD V SA officials to aw ard

  procurem entcontractsw ith Petrocedeho to specific contractors.

                On oraboutM arch 24,2016,Contractor 1caused awire transferof$50,000 to be
  transferred from a bank account of a Florida-registered com pany to a bank account of another

  Florida-registered com pany forthe benetitofLENN Y S R AN G EL .

                O n or about Septem ber 1, 2016, a co-conspirator contractor, w hose identity is

  known totheUnited States,caused a wireof$1,034,546 to betransferred from abank accountin

  South Floridato abankaccountinPanamacontrolled byarelativeofLENNYS RANGEL (the
  çûpanamaAccount).
                O n or about D ecem ber 5,20l7, LENN Y S R AN G EL caused a w ire transfer of

  approxim ately$75,500 to bemadefrom thePanamaAccountto abank accountin M iam i,Florida,
  forthe purchase ofan apartm entin the Brickellarea ofM iam iforthe benefitofR ANG EL.

         A llin violation ofTitle 18,United States Code,Section 371.

                                          FO R FEITU R E
                                    (l8tJ-s.c.j98l(a)(l)(C))
                 The allegations contained in the lnform ation are re-alleged and incorporated by

  reference asthough fully setforth herein forthepurpose ofalleging forfeiture to the United States

   ofcertain property in w hich the defendant,LENN Y S R ANG EL ,has an interest.

                 U pon conviction ofa conspiracy to com m it a violation ofTitle 18,U nited States

   Code,Section 1956(a),asalleged inthisInformation,thedefendant,LENNYS RANGEL,shall
   forfeitto the United States al1property,realorpersonal,which constitutes oris derived from

   proceedstraceabletosuchoffense,pursuanttoTitle18,UnitedStatesCode,Section981(a)(1)(C).
                 Thepropertysubjecttoforfeitureincludes,butisnotlimitedto:
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                     A forfeituremoneyjudgmentintheamountofatleast$5,000,000.00,
                                                                               .
                     Condom inium Unit2015 at 1001 S.M iam iA venue,M iam i,Florida 33130,
                                                                                         *

                 b. $134,955.50 in United States currency from Banesco Panama account
                     #201801064092 in the nam e ofO il& G as Supply Services S.A .;

                     netproceedsfrom the sale ofrealproperty located in Caracas,V enezuela,m ore
                     particularly described as:

                        Parcela de terreno distinguida con elnflmero cincotos),que
                        fonnapârate de la manzana dieztl0)delplano generalde la
                        urbanizacién A ltam ira,y a la construcciôn sobre ella existente y
                        hoy rem odelada distinguida con con el nflm ero treinta y dos
                            (32),antesconocidacomoquintaCumana,ubicadaenlaavenida
                        San Juan Bosco,Jurisdicciôn de1m unicipio Chacao de1estado
                        M iranda. C6digo Catastral: 15-07-01-U O 1-001-014-016-000-
                        000-000.,1

                 d. netproceeds from the sale of real propel'
                                                            ty located in Lecherias,V enezuela,
                    m ore particularly described as:

                            Parcelade terreno identiticada con losnflm eros3-717,delplano
                            de la (antigua urbanizaci6n elMorro de Barcelona lllEtapa)
                            M unicipio Bolivar, hoy ciudad de Lecherias, M unicipio
                        UrbanejadelEstadoAnzoategui.UbicadaenlacalleTerapaima,
                        Urbanizaci6n el Morro,Tercera Etapa,Municipio Urbaneja,
                            Estado Anzoategui. Côdigo Catastral:03-21-01-U R-06-14-03-
                            00-00-00,
                                    .2 and

   l English translation'
                        .




             Numberfive(05),which ispa14ofblockten(10)ofthegenerallayoutfor
             the Altam irano D evelopm ent, and the existing construction on it, now
             remodeled,identitied as number thirty-two (32),previously known as
             QuintaCumana,locatedonSanJuanBoscoAvenuewithinthejurisdiction
             ofthe Chacao m unicipality in the state of M iranda,Realproperty identity
             num ber 15-07-01-U O 1-001-014-016-000-000-000.

   2 English translation'
                        .




             N um ber 3-171, of the layout plans for the old developm ent tiM ol'
                                                                                ro de
              Barcelona1l1Etapa''on TerapaimaStreetoftheUrbanjeaM unicipalityin
             the state of Anzoategui,Real property identity num ber 03-21-01-U R-06-
              14-03-00-00-00.
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                lfanyofthepropertysubjecttoforfeiture,asaresultofanyactoromissionofthe
  defendant:

                      calm otbe located upon the exercise ofdue diligence;

                      hasbeen transferred orsold to,ordeposited w ith,a third party;

                      hasbeen placedbeyondthejurisdictionofthecourt;
                      hasbeen substantially dim inished in value;or

                e.    has been com m ingled w ith other property w hich cannotbe divided w ithout
                      difficulty.

  the United States shallbe entitled to the forfeiture of substitute property under the provisions of

  Title21,UnitedStatesCode,Section 853(p).
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         Al1pursuanttoTitle18,UnitedStatesCode,Section981(a)(1)(C),andtheproceduresset
  forth in Title 21,U nited StatesCode,Section 853,asincorporated by Title28,U nited StatesCode,

  Section2461(c).


    l               hs
  ARIAN A FA JA RD O OR SH A
  UN ITED STA TES A TTORN EY
  SOU TH ERN DISTRICT OF FLO RIDA

              *
                     A.
         M ICH A EL N .BER GER
         A SSISTA N T UN ITED STA TES A TTORN EY
         SOU TH ERN DISTR ICT OF FLOR ID A


  RO BERT Zm KU CH IEF
  CRIM IN A L D IVISION ,FRA UD SECTION
  U .S.D EPARTM EN T OF JU STICE


  By:               'Z J'R     -
      &Z JOHN .A LEX RO M AN O
         TRIAL ATTO RN EY ,FR AUD SECTION
 Case 1:19-cr-20726-JEM Document
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                                                 IC T COU RT   11/04/2019 Page 9 of 10
                                          SO UTH ERN DISTR IC T OF FLOR IDA

UN ITED STA TES O F AM ER ICA                      CA SE NO .

                                                   C ERTIFICATE O F TRIAL A TTO RNEY*
LENN YS RANG EL,
                            D efendant.
                                           /       Superseding C ase Inform ation:


CourtDivision:(SelectOne)                          New Defendantts)                        Yes        No
                                                   Num berofNew D efendants
   X    Adianai             KeyW est               Totalnumberofcounts
        FTL                 W PB
        Idoherebycertifythat:
                  lhavecarefullyconsideredtheallegationsoftheindictm ent,thenumberofdefendants,thenum berofprobable
                  witnessesandthelegalcomplexitiesoftheIndictment/lnformation attachedhereto.
                  lalp awargthatthe information supplied on thijstatementwillberelied upon by theJudgesofthisCourtin
                  settlpgthelrcalendarsand schedulingcrim inaltrlalsunderthemandateoftheSpeedyTrialAct,Title28U.S.C.
                  Sectlon 3 16 1.
                  lnterpreter:      (YesorNo)       Yes
                  Listlanguageand/ordialect          panlsh
                  Thiscase willtake            0   days forthepartiesto try.
                  Pleasecheck appropriatecategory andtypeofoffenselistedbelow :
                  (Checkonlyone)                                       (Checkonlyone)
        l         0 to 5 days                          X-   -                      Petty
        ll        6 to 10 days                                                     M inor
        lll       llto 20 days                                                     M isdem .
        IV        21to 60days                                                      Felony
        V         6ldaysand over
        6.        HasthiscasebeenpreviouslyfiledinthisDistrictCourt? (YesorNo)                   No
        Ifyes:
        Judge: Lenard                                           CaseN o.
        (Attachcopygfdispositiveordel)
        Hasacomplalntbeenfiledinthlsmatter? (YesorNo)
        Ifyes:
        M agistrate CaseN o.
        Related M iscellaneousnum bers:
        Defendantts)infederalcustodyasof
        Defendantts)in statecustodyasof
        Rule 20 from the                             lstncto



                  Doesthis case originate from a matterpending in the N orthern Region ofthe U.S.Attorney'sOftice priorto
                  October 14,2003?                  Yes       X No

                  Doesthiscase originate from a m atterpending in the CentralRegion ofthe U .S.Attorney's Office priorto
                  Septem ber 1,2007?               Yes        X     No




                                                                M ICHAEL N wBERGER
                                                                               -
                                                                A SSISTAN T UNITED STATES ATTORN EY
                                                                Coud N 0.A5501557

*penalty Sheetts)attached                                                                             REV 4/8/08
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                             U N ITE D STA TES D ISTR ICT C O U RT
                             SO U TH ERN D ISTR ICT O F FLO R IDA

                                         PENALTY SHEET
   D efendant's Nam c:LEN NY S R AN G EL

   C ase N o:

   Count#:1

   Conspiracy to Com m itan O ffense A gainstthe U nited States

   Title 18,United States Code,Section 371

   *M ax.Penalty:Five(5)Years'lmpzisonment




    RR efers only to possible term ofincarceration,does notinclude possible fines,restitution,
             specialassessm ents,parole term s,or forfeitures thatm ay be applicable.
